
PER CURIAM.
Affirmed. Gibbons v. L.W. Blake Memorial Hosp., 538 So.2d 1386 (Fla.2d DCA), rev. denied, 548 So.2d 663 (Fla.1989), cert. denied, 493 U.S. 1085, 110 S.Ct. 1147, 107 L.Ed.2d 1051 (1990); Kron v. Barker, 536 So.2d 383 (Fla. 5th DCA 1989); Rude v. Golden Crown Land Dev. Corp., 521 So.2d 351 (Fla.2d DCA 1988); Singh v. Tolz, 380 So.2d 1326 (Fla. 4th DCA 1980).
